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                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON

                                  EUGENE DIVISION

Elizabeth HUNTER; et al.,
                                                                   Case No. 6:21-cv 00474-AA
                                Plaintiffs,
                                                                   DECLARATION OF PAUL
                  v.                                               CARLOS SOUTHWICK

U.S. DEPARTMENT OF EDUCATION; and
Catherine LHAMON, in her official capacity as
Assistant Secretary for the Office of Civil Rights, U.S.
Department of Education,

                                Defendants,

                  v.

COUNCIL FOR CHRISTIAN COLLEGES &
UNIVERSITIES, WESTERN BAPTIST COLLEGE
d/b/a CORBAN UNIVERSITY, WILLIAM JESSUP
UNIVERSITY AND PHOENIX SEMINARY,

                                Intervenor-Defendants.



                                                         Religious Exemption Accountability Project
                                                                         Paul Southwick Law, LLC
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   I, Paul Carlos Southwick, declare:

   1. I am over 18 years of age and have personal knowledge of the matters stated in this
      declaration and would testify truthfully to them if called upon to do so.

   2. Attached as Exhibit A is OCR Letter re: Lincoln Christian University Investigation
      (January 7, 2022).

   3. Attached as Exhibit B is OCR Email Correspondence re: Lincoln Christian University
      Investigation (January 10, 2022)


    Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true and
correct, and that this declaration was executed this 10th day of January, 2022.




                                            By: s/Paul Carlos Southwick
                                            Paul Carlos Southwick




   DECLARATION OF PAUL CARLOS SOUTHWICK                                                         2
